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                                                      Hearing Date: April 4, 2013 at 10:00 a.m. (Eastern)
 Kenneth R. Puhala
 Barry E. Bressler (admitted pro hac vice)
 Richard A. Barkasy (admitted pro hac vice)
 Eric A. Boden
 SCHNADER HARRISON SEGAL & LEWIS LLP
 140 Broadway, Suite 3100
 New York, NY 10005-1101
 Phone: (212) 973-8000
 Fax: (212) 972-8798
 Attorneys for Plaintiffs

 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK

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                                                                :
 In re:                                                         :    Chapter 11
                                                                :
 OLD CARCO LLC, et al.,                                         :    Case No. 09-50002 (SMB)
                                                                :
                                     Debtors.                   :    (Jointly Administered)
 ----------------------------------------------------------------X
                                                                :
 AUTUMN BURTON, et al.                                          :
                                                                :
                                     Plaintiffs,                :    Adv. Proc. No. 13-01109 (SMB)
                                                                :
 v.                                                             :
                                                                :
 CHRYSLER GROUP, LLC                                            :
                                                                :
                                     Defendant.                 :
 ----------------------------------------------------------------X


                    PLAINTIFFS’ OPPOSITION TO CHRYSLER
        GROUP, LLC’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

         Plaintiffs, by and through their undersigned counsel, by way of opposition to Chrysler

 Group, LLC’s (“Chrysler Group”) Motion to Dismiss Second Amended Complaint (the

 “Motion”), hereby state:




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                                          BACKGROUND

        A.      Chrysler Group’s Assumption of Warranty Claims and Lemon Law
                Liabilities.

        1.      On April 30, 2009, Chrysler, LLC (n/k/a Old Carco LLC) and 24 of its affiliated

 debtors (the “Debtors”) filed voluntary petitions for relief under Chapter 11 in the United States

 Bankruptcy Code (11 U.S.C. § 101, et seq.) in the United States Bankruptcy Court for the

 Southern District of New York (the “Bankruptcy Court”).

        2.      On June 1, 2009, the Bankruptcy Court entered an order approving the sale of

 substantially all of the Debtors’ assets to Chrysler Group (the “Sale Order”) [Docket No. 3232]

 pursuant to the terms and conditions of a Master Transaction Agreement dated as of April 30,

 2009 (the “MTA”) [Docket No. 3071-1].

        3.      Pursuant to Section 2.08 of the MTA, Chrysler Group assumed, effective as of

 closing, the obligation to “timely perform and discharge in accordance with their respective

 terms” certain liabilities of the Debtors.

        4.      Among the Debtors’ obligations assumed by Chrysler Group were “all Liabilities

 pursuant to product warranties, product returns and rebates on vehicles sold by Sellers

 prior to the Closing.” MTA § 2.08(g) (emphasis added).

        5.      “Liabilities,” as used in § 2.08(g), are defined to include “all debts, liabilities and

 obligations of any kind whatsoever, whether asserted or unasserted, accrued or fixed, contingent

 or absolute, determined or determinable, or otherwise including those arising under any Law,

 Action or Government Order and those arising under any contract.” Definitions Addendum to

 MTA.

        6.      Not only did Chrysler Group assume all of the Debtors’ Liabilities pursuant to

 product warranties, but the Sale Order separately obligated Chrysler Group to make payment of



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 liabilities under “Lemon Laws” on vehicles manufactured by the Debtors in the five years prior

 to the sale closing. Sale Order ¶ 19.

        7.      Chrysler Group also expressly agreed to assume “any Liabilities arising as a

 result of the operation of the Company Business after the Closing.” MTA § 2.08(l)

 (emphasis added)

        8.      The sale closed on June 10, 2009.

        9.      The United States Court of Appeals for the Second Circuit affirmed the Sale

 Order. Ind. State Police Pension Trust v. Chrysler LLC (In re Chrysler LLC), 576 F.3d 108 (2d

 Cir. 2009).

        10.     The Sale Order, inter alia, extinguished successor liability claims for personal

 injuries against Chrysler Group arising from motor vehicle accidents occurring both before and

 after the sale involving Chrysler vehicles manufactured before the closing.

        11.     Appellants, inter alia, challenged the provisions of the Sale Order which would

 have precluded claims against Chrysler Group for accidents not occurring until after the sale on

 due process and other grounds. Id. at 127.

        12.     In its opinion, the Second Circuit stated that “we decline to delineate the scope of

 the bankruptcy court’s authority to extinguish future claims, until such time as we are presented

 with an actual claim for an injury that is caused by Old Chrysler that occurs after the Sale and is

 cognizable under state successor liability law.” Id.

        13.     On November 19, 2009, the Bankruptcy Court entered an order approving an

 amendment to the MTA providing for Chrysler Group’s assumption of products liability claims

 arising from motor vehicle accidents occurring after the sale involving Chrysler vehicles

 manufactured before the closing. [Docket No. 5988]




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        14.     On December 14, 2009, the Supreme Court of the United States issued an opinion

 granting a petition for writ of certiorari, vacating the judgment on the Sale Order and remanding

 the case to the Second Circuit with instructions to dismiss the appeal as moot. Ind. State Police

 Pension Trust v. Chrysler LLC (In re Chrysler LLC), 558 U.S. 1087 (2009).

        B.      Plaintiffs’ Class Action.

        15.     On November 29, 2011, Plaintiffs filed this action in the Superior Court of the

 State of Delaware for the County of New Castle.

        16.     On January 3, 2012, Chrysler Group removed this case to the United States

 District Court for the District of Delaware (the “Delaware Court”).

        17.     On August 21, 2012, Plaintiffs filed their Second Amended Complaint, a true and

 copy of which is attached as Exhibit A.

        18.     On August 28, 2012, the Delaware Court entered an Order transferring this case

 to the United States District Court for the Southern District of New York, for referral to the

 Bankruptcy Court for a determination as to whether the claims set forth in the Second Amended

 Complaint are barred by the Sale Order (the “Transfer Order”). A true and correct copy of the

 Transfer Order is attached as Exhibit B.

        19.     The Transfer Order provides that if the Bankruptcy Court determines that any of

 the claims asserted in Plaintiffs’ Second Amended Complaint are not barred by the Sale Order,

 all remaining claims will be remanded to the Delaware Court. Transfer Order ¶ 3.

        20.     This is a class action arising from Chrysler Group’s failure to fulfill its

 obligations, including, but not limited to, warranty obligations, to remediate a dangerous and

 defective condition in Chrysler vehicles.




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        21.     Each of the named Plaintiffs owns a Chrysler vehicle which has a flaw that causes

 fuel to spill out of the filler tube during refueling. This defect is known as a “fuel spit-back”

 problem.

        22.     Plaintiffs seek: (a) an injunction requiring Chrysler Group to correct the fuel spit-

 back problem in Jeep Wrangler vehicles, model years 2005 through 2010, and Dodge Durango

 vehicles, model years 2005 through 2008; and (b) to recover the cost of the repair and

 replacement of necessary components in each Jeep Wrangler and Dodge Durango. The Plaintiffs

 do not assert any claims for personal injury damages.

        23.     The Second Amended Complaint contains breach of express and implied warranty

 claims, as well as negligence claims predicated upon from Chrysler Group’s post-closing failure

 to properly notify consumers and remediate the fuel spit-back problem.

        24.      In September, 2009, Chrysler Group issued a Technical Service Bulletin (“TSB”)

 advising Chrysler dealers that customers were experiencing fuel spit-back problems and advising

 the dealers on various repair steps. Second Amended Complaint ¶ 7.

        25.     On February 11, 2011, Chrysler Group issued a TSB granting a lifetime warranty

 to the owners of 2007 and 2008 Jeep Wrangler vehicles. The warranty covered the repair and

 replacement of certain components if and when a customer complained of a fuel spit-back

 problem. A true and correct copy of the February 11, 2011 TSB is attached as Exhibit C.

        26.     Although the U.S. Department of Transportation, National Highway Traffic

 Safety Administration (the “NTSA”) found that the rate of fuel spit-back complaints on Jeep

 Wrangler vehicles “is higher than or similar to the rate experienced in previous investigations

 where safety recalls were conducted,” it closed its investigation relying upon the lifetime

 warranty issued by Chrysler Group:




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                In addition, Chrysler is initiating a lifetime warranty program, at
                no cost to the consumer, to address the fuel spit back problem in
                approximately 135,000 model year 2007-2008 Jeep Wrangler
                vehicles built from March 1, 2007 to March 31, 2008. Chrysler
                will notify all affected vehicle owners of this action. Consumers
                should refer to the warranty and service bulletins and sample
                owner notification letter available in the investigative file. The
                vehicle build date can be found on the certification label located on
                the driver door or door jamb.

 See NTSA ODI Resume, a true and correct copy of which is attached as Exhibit D.

        27.     On January 20, 2012, Chrysler Group issued a TSB granting owners of 2006

 through 2008 Dodge Durango vehicles a lifetime warranty due to the fuel spit-back problem. A

 true and correct copy of the January 20, 2012 TSB is attached as Exhibit E.

        28.     In the Second Amended Complaint, Plaintiffs allege that, inter alia, Chrysler

 Group failed to live up to the promises it made and obligations it assumed, when it issued these

 lifetime warranties in 2011 and 2012.

        29.     The Second Amended Complaint alleges that in each of the TSBs referenced

 above, the defendant failed to reasonably and safely notify current owners to allow for the

 prompt repair of all Chrysler products in the Class.

                                           ARGUMENT

        30.     When deciding a motion to dismiss a complaint, the court views all facts and

 inferences to be drawn from the pleadings in favor of the party against whom the motion is

 sought. Harris v. City of New York, 186 F.3d 243, 247 (2d Cir. 1999). Indeed, “[t]he issue is not

 whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to

 support the claims.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (citation omitted).

 Asking for plausible grounds to infer that something has occurred as alleged does not impose a

 probability requirement at the pleading stage. Twombly, 550 U.S. at 556 (footnote omitted).

 When there are well-pleaded factual allegations, a court should assume their veracity and then


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 determine whether they plausibly give rise to an entitlement to relief. Ashcroft v. Iqbal, 556 U.S.

 662, 129 S. Ct. 1937, 1950 (2009) (citations omitted).

        31.     Chrysler Group contends that Plaintiffs’ Second Amended Complaint should be

 dismissed because all of Plaintiffs’ claims are barred by the Sale Order. The only issue to be

 addressed on Chrysler Group’s Motion is whether the Sale Order prevents Plaintiffs from

 maintaining this action, not whether Plaintiffs will ultimately prevail on their claims. For the

 reasons set forth below, Chrysler Group’s Motion should be denied and this case should be

 remanded to the Delaware Court.

        A.      The Sale Order Does Not Preclude Plaintiff’s Claims Under the
                Lifetime Warranties Chrysler Group Issued in 2011 and 2012.

        32.      In the Second Amended Complaint, Plaintiffs allege that Chrysler Group has

 failed to live up to its obligations under the lifetime warranties it issued in 2011 and 2012. There

 is nothing in the Sale Order which would relieve Chrysler Group from liability for failing to

 fulfill the lifetime warranty commitments it made after the sale was concluded. To the contrary,

 Chrysler Group expressly assumed “any Liabilities arising as a result of the operation of the

 Company Business after the Closing.” MTA § 2.08(1). As a result, Plaintiffs should be

 permitted to seek to enforce Chrysler Group’s post-closing promises to Jeep Wrangler and

 Dodge Durango vehicle owners.

        B.      The Sale Order Does Not Bar Plaintiffs’ Negligence Claims Based
                Upon Chrysler Group’s Post-Closing Conduct.

        33.     Plaintiffs’ Second Amended Complaint also contains negligence claims arising

 from Chrysler Group’s post-sale conduct. Having issued the lifetime warranties in 2011 and

 2012, Chrysler Group undertook the post-sale obligation to properly repair the fuel spit-back

 problem in the Jeep Wrangler and Dodge Durango vehicles. See Circle Land & Cattle Corp. v.




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 Amoco Oil, 232 Kan. 482, 657 P.2d 532, 537 (1983) (“The law imposes an obligation upon

 everyone who attempts to do anything, even gratuitously, for another, to exercise some degree of

 care and skill in the performance of what he has undertaken, for nonperformance of which an

 action lies”); Standifer v. Pate, 291 Ala. 434, 282 So. 2d 261, 263 (Ala. 1973) (“where one

 undertakes a duty requiring skill and care, reasonable care must be exercised in the performance

 thereof even though there may be no consideration given therefor”); H.R. Moch Co. v.

 Rensselaer Water Co., 247 N.Y. 160, 167 (1928) (“It is ancient learning that one who assumes to

 act, even though gratuitously, may thereby become subject to the duty of acting carefully”);

 Restatement (Second) of Torts §§ 323 and 324A.

        34.     Further, a manufacturer has a duty to warn consumers of risks brought to the

 attention of the manufacturer after the product is sold. Cover v. Cohen, 61 N.Y.2d 261, 473

 N.Y.S.2d 378 (1984) (finding triable question of fact as to duty to warn where GM issued TSB

 acknowledging that vehicles may exhibit erratic idle speed and slow return to idle).

        35.     “The responsibility to warn of known defects cannot be satisfied merely by

 alerting participating service centers. Because of the likelihood that a purchaser will have a

 product serviced by its own technicians or by an unaffiliated service center, or possibly not

 serviced at all, sellers must make reasonable attempts to warn the user or consumer directly.”

 Walton v. Avco Corp., 530 Pa. 568, 610 A.2d 454, 459 (1992).

        36.     An asset purchaser has an independent duty to warn when it has a continuing

 relationship with customers of the seller. Patton v. TIC United Corp., 77 F.3d 1235, 1240 (10th

 Cir. 1996), cert. denied 578 U.S. 1005 (1996); Florom v. Elliott Mfg, 867 F.2d 570, 577 (10th

 Cir. 1989); Restatement (Third) of Torts: Products Liability, § 13.




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        37.     The asset purchaser’s “liability stems not from its status as a successor, but from

 the establishment of a relationship with the customer that imposes certain duties and

 responsibilities.” Polius v. Clark Equipment Co., 802 F.2d 75, 84 (3d Cir. 1986).

        38.     By issuing the TSBs relating to the fuel spit-back problem and the lifetime

 warranties in 2011 and 2012, and through its prior assumption of the product warranties for

 Chrysler vehicles in the MTA, Chrysler Group established its own post-closing relationship with

 the owners of Chrysler vehicles. As a result, Chrysler Group had a post-sale duty to warn

 Chrysler vehicle owners of the fuel spit-back problem. Since Chrysler Group’s duty arose after

 the closing, the Sale Order does not preclude Plaintiffs’ claims that Chrysler Group did not

 reasonably alert customers to the safety defect at issue and did not properly instruct owners to

 have their vehicles repaired. Second Amended Complaint ¶¶ 16 and 71.

        39.     Chrysler Group contends that Plaintiffs’ negligence claims are precluded by the

 Sale Order because they are based on purported defects in vehicles manufactured and sold by the

 Debtors prior to the closing date.

        40.     Chrysler Group’s argument fails because the negligence claims arise from the

 post-closing operation of the business, the Liabilities for which were expressly assumed by

 Chrysler Group. MTA § 2.08(l).

        41.     In addition, Chrysler Group’s assertion should be rejected because a Section 363

 “free and clear” sale order may not extinguish a claim against a purchaser relating to a product

 manufactured by the debtor before the sale if the plaintiff’s injury was not suffered until after the

 closing. In re Grumman Olson Industries, Inc., 467 B.R. 694 (S.D.N.Y. 2012). To do otherwise

 would deny Plaintiffs “due process and violate the Bankruptcy Code’s requirements of notice

 and opportunity to be heard for those affected by a bankruptcy court’s rulings.” Id. at 711.




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 Plaintiffs could not have known, before the sale was approved, that Chrysler Group would after

 the closing negligently fail to warn Chrysler vehicle owners of the fuel spit-back problem and

 negligently fail to remediate the fuel spit-back problem. Consequently, Chrysler Group’s Motion

 should be denied.

         C.      Chrysler Group Assumed the Debtors’ Warranty Obligations.

         42.     Even if Chrysler Group had not issued its own lifetime warranties promising to

 fix the fuel spit-back problem, Chrysler Group would not be permitted to escape from its

 assumption of the Debtors’ warranty obligations for Chrysler vehicles.

         43.     Under the Sale Order and MTA, Chrysler Group clearly and unequivocally agreed

 to assume “all Liabilities pursuant to product warranties, product returns and rebates on vehicles

 sold by Sellers prior to the Closing.” MTA § 2.08(g).

         44.     Chrysler Group’s specific assumption of the Debtors’ warranty obligations was a

 critical part of the transaction.

         45.     When it filed for bankruptcy protection, the Debtors represented that “to preserve

 goodwill and the value of Chrysler’s brands that are central to any going concern sale, Chrysler

 must continue to honor warranties and related obligations that directly impact the purchasers of

 Chrysler, Dodge and Jeep vehicles.” Declaration of Ronald E. Kolka [Docket No. 23] ¶ 90. The

 Debtors advised the Court that “[a]ny indication that Chrysler will not honor its warranty and

 service contract obligations will cause a loss in consumer loyalty that would negatively and

 perhaps irreparably impact Chrysler’s ability to consummate a Sale Transaction, to the

 significant detriment of its estates.” Id. at ¶2 0.

         46.     As a result, when Chrysler announced the sale, Bob Nardelli, the Debtors’

 Chairman and CEO, assured the public in an open letter to customers that “The company will




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 seamlessly honor all warranty claims.” A true and correct copy of the open letter is attached as

 Exhibit F.

        47.     In the motion seeking approval of the sale (the “Sale Motion”) [Docket No. 190],

 the Debtors showcased that Chrysler Group was assuming:

                        Liabilities for product warranties, product returns and rebates on vehicles
                         sold pre-closing

                        Warranty obligations and product recall liabilities related to vehicles sold
                         pre-closing

 Sale Motion at 26-27.

        48.     The Debtors’ CFO (and later President) Ronald Kolka testified during the sale

 hearing that Chrysler Group “plans on paying the warranty claims.” May 29, 2009 Hearing

 Transcript 160:10-13; true and correct copies of the pertinent pages of the May 29, 2009 Hearing

 Transcript are attached as Exhibit G.

        49.     After the sale closed, Chrysler Group touted to Senator Richard Durbin that it had

 assumed liability for warranty and lemon law claims:

                Today, Chrysler Group has a much better appreciation of the
                viability of our business than it did on June 10. As a result, we
                will announce today that the company will accept product liability
                claims on vehicles manufactured by Old Carco before June 10 that
                are involved in accidents on or after that date. This is in addition
                to our previous commitment to honor warranty claims, lemon
                law claims and safety recalls regarding these vehicles.

 Chrysler Group letter to Senator Richard Durbin dated August 27, 2009 (emphasis added), a true

 and correct copy of which is attached as Exhibit H.

        50.     When he testified before Congress, Ronald Bloom of President Obama’s Task

 Force on the Automotive Industry explained that Chrysler Group assumed the warranty claims to

 allow it to preserve its relationship with Chrysler customers:




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                The companies also decided to honor the warranty claims of
                prior owners of their cars. Why, because on a commercial
                basis, the last buyer of a GM or Chrysler car is the most likely
                candidate to be the next buyer.

 Transcript of July 21, 2009 the Hearing before the Subcommittee on Commercial and

 Administrative Law of the Committee on the Judiciary of the House of Representatives at 31

 (emphasis added); true and correct copies of the pertinent pages of the transcript are attached as

 Exhibit I.

        51.     Under these circumstances, and given the clear language of § 2.08(g) of the MTA,

 it would be unjust and inequitable to permit Chrysler Group to now seek to evade the warranty

 obligations it specifically assumed.

        52.      Chrysler Group’s reliance on the Bankruptcy Court’s unreported Opinion in

 Tulacro v. Chrysler Group, LLC, Adv. No. 11-09401 (AJG), is misplaced. In that case, the

 plaintiffs asserted claims under California’s Lemon Law for a vehicle that was purchased more

 than five years prior to the closing date and, therefore, outside of the Sale Order provision

 regarding Chrysler Group’s assumption of Lemon Law claims. In the Tulacro Opinion, although

 the Bankruptcy Court determined that Chrysler Group was not responsible for the claims under

 California’s Lemon Law, the Bankruptcy Court noted that under Section 2.08(g) of the MTA,

 Chrysler Group assumed the obligation to cover the costs of all parts and labor needed to repair

 defective items in connection with the warranty issued for the vehicle. Tularco Opinion at 6.

        53.     Chrysler Group’s citation to the Bankruptcy Court’s oral opinion in Tatum v.

 Chrysler Group, LLC, United States Bankruptcy Court for the Southern District of New York,

 Adv. No. 11-09411(AJG), is equally misguided. In that case, the Bankruptcy Court concluded

 that the plaintiff’s New Jersey Consumer Fraud Act claim was barred by the Sale Order.

 However, in its oral ruling, the Bankruptcy Court explained that that Chrysler Group had



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 assumed the responsibility for parts and labor costs for repairing vehicles in connection with the

 vehicle warranties. Tr. at 26-27. True and correct copies of the pertinent pages of the February

 14, 2012, 2009 Hearing Transcript are attached as Exhibit J.

          54.   Indeed, in Tatum, Chrysler Group acknowledged that the plaintiffs’ breach of

 warranty claims with regard to a braking defect in model-year 2009 and 2010 Dodge Journey

 vehicles were not precluded by the Sale Order. Although the plaintiffs’ New Jersey Consumer

 Fraud Act claims were transferred to the Bankruptcy Court for a determination as to whether

 they were barred by the Sale Order, the United States District Court for the District of New

 Jersey denied Chrysler Group’s venue transfer motion as to the plaintiffs’ breach of warranty

 claims. In her Report and Recommendation on the venue transfer motion, which was adopted by

 the district court, the Magistrate Judge explained:

                The Court does not believe it appropriate to transfer Counts II-IV
                to the Bankruptcy Court because the remaining claims do not relate
                to the pending bankruptcy proceeding…These claims implicate no
                assumed liability issues. Instead, these claims focus exclusively on
                breach of warranty claims or rely entirely on allegations related to
                Chrysler’s post-bankruptcy conduct. To that end, Chrysler
                conceded and stipulated on the record that it assumed the liabilities
                associated with breach of warranty claims arising out of the alleged
                defects in the vehicles at issue.

 Tatum v. Chrysler Group, LLC, 2011 U.S. Dist. LEXIS 113503 at * 15 (D.N.J. Oct. 3, 2011),

 adopted by Tatum v. Chrysler Group, LLC, 2011 U.S. Dist. LEXIS 144831 (D.N.J. Dec. 16,

 2011).

          55.   In this case, Plaintiffs are seeking to enforce Chrysler Group’s warranty

 obligations. This is not a products liability action. Plaintiffs do not seek to recover for personal

 injury damages. Rather, Plaintiffs seek injunctive relief and recovery of repair costs for violation

 of express and implied warranties applicable to Chrysler vehicles owned by Plaintiffs. Since




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 Chrysler Group assumed the Debtors’ warranty obligations, Chrysler Group’s motion to dismiss

 should be denied.

         D.      Chrysler Group Is Responsible For Payment of Lemon Law Claims.

         56.     Plaintiffs’ breach of express and implied warranty claims, and the facts set forth

 in the Second Amended Complaint, also constitute “Lemon Law” claims, the responsibility for

 payment for which Chrysler Group assumed in ¶ 19 of the Sale Order.

         57.     Chrysler Group contends that Plaintiffs’ claims for breach of express and implied

 warranties are not protected by ¶ 19 of the Sale Order because Plaintiffs do not identify any

 federal or state statutes in the Second Amended Complaint. Chrysler Group’s argument is belied

 by its previous admissions.

         58.     In Burton v. Chrysler Group, LLC, United States District Court for the District of

 South Carolina, Civil Action No. 8:10-CV-00209-JMC, Chrysler Group acknowledged that: (a)

 breach of express and implied warranty claims were assumed by Chrysler Group in ¶ 19 of the

 Sale Order; and (b) such claims are not dependent upon proving a violation of any particular

 statute. In that case, the plaintiffs, individually and on behalf of a putative class, asserted that

 there are certain defects in model-year 2007 through 2009 Dodge Ram vehicles and pled claims

 against Chrysler Group for breach of express and implied warranties. Chrysler Group stipulated

 as follows:

                 Chrysler Group acknowledges and agrees that, under Paragraph 19
                 of the Sale Order, it assumed the liabilities associated with claims
                 for breach of express warranty and breach of implied warranty for
                 model-year 2007 through 2009 Dodge Ram vehicles equipped with
                 a 6.7 liter Cummins engine, except for those liabilities associated
                 with personal injuries and/or punitive, exemplary, special,
                 consequential or multiple damages or penalties. Chrysler Group
                 acknowledges that its assumption of these liabilities associated
                 with breach of express warranty claims and breach of implied
                 warranty claims is not dependent on a plaintiff/claimant alleging or



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                proving facts which would meet the standards of any applicable
                “Lemon Law.”

 Consent Motion and Stipulation of Parties Regarding Filing of Second Amended Complaint and

 Assumed Liabilities dated May 11, 2011 ¶ 2, a true and correct copy of which is attached as

 Exhibit K (emphasis in original).

        59.     Furthermore, “[d]ismissal without leave to amend is improper unless it is clear

 that the complaint could not be saved by further amendment.” See O’Brien v. U.S., 73 Fed.

 Appx. 958, 959 (9th Cir. 2003).

        60.     Accordingly, to the extent that the Court determines that Plaintiffs are required to

 identify each state statute violated by Chrysler Group, Plaintiffs should be afforded an

 opportunity to amend their pleadings to do so. Baptiste v. Cavendish Club, Inc., 670 F.Supp. 108

 (S.D.N.Y. 1987) (denying motion to dismiss and granting motion to file amended complaint to

 state claim under 42 U.S.C. § 1981).1

        61.     Chrysler Group also now asserts that Plaintiffs’ breach of express and implied

 warranty claims should be dismissed because Plaintiffs seek to recover consequential damages,

 which are not permitted under ¶ 19 of the Sale Order. The only “consequential damages” that

 Plaintiffs seek are damages for the loss of use of the vehicles while they are being repaired. To

 the extent that such damages are not covered by ¶ 19 of the Sale Order or otherwise recoverable,

 only the consequential damages claims would be subject to dismissal, not Plaintiffs’ claims for

 repair and component part replacement costs or injunctive relief.


 1
        There would be no prejudice to Chrysler Group from permitting Plaintiffs to amend their
        pleading because the Transfer Order already contemplates Plaintiffs filing a Third
        Amended Complaint after the case is transferred back to the Delaware Court. Transfer
        Order ¶ 4.




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        E.      The Sale Order Does Not Impact Claims Relating to Vehicles
                Manufactured After the Sale.

        62.     Even if the provisions of the Sale Order and MTA relating to products liability

 claims, rather than Chrysler Group’s clear and unequivocal assumption of Debtors’ warranty

 obligations, were applicable, the Second Amended Complaint includes claims which would not

 be precluded. For example, the Second Amended Complaint also includes claims relating to

 model year 2009 and 2010 Jeep Wrangler vehicles which would not have even been

 manufactured until after the closing date.2

        F.      The Sale Order Does Not Extinguish Future Claims

        63.     The Sale Order would also not bar claims with respect to fuel spit-back problems,

 not manifesting themselves until after the sale closing.

        64.     As set forth above, the MTA was modified to cover “future” claims arising from

 post-closing accidents involving vehicles manufactured before the closing date.

        65.     A sale free and clear under 11 U.S.C. § 363(f) does not bar the claims arising after

 the sale by defective product manufactured prior to the sale under a successor liability or other




 2
        Chrysler Group asserts that the named Plaintiffs do not have standing to bring claims for
        model year 2009 and 2010 vehicles because they do not own model year 2009 or 2010
        vehicles. This is an argument on the merits of Plaintiffs’ request for class certification
        which is not to be adjudicated in the context of this Motion. Nevertheless, Chrysler
        Group is wrong. The Plaintiffs have standing because the vehicles all have the same fuel
        spit-back problem. There is no requirement that there be at least one named plaintiff
        owner for each model vehicle. See Wolin v. Jaguar Land Rover North America, LLC,
        617 F.3d 1168 (9th Cir. 2010) (class certification granted where named plaintiffs owned
        model year 2005 Land Rover LR3s and class included owners and lessees of 2004, 2005
        or 2006 Land Rover LR3s); Daffin v. Ford Motor Co., 458 F.3d 549 (6th Cir. 2006)
        (named plaintiff owned 1999 Mercury Villager minivan and certified class included all
        1999 or 2000 Mercury Villager owners and lessees).




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 theory. In re Grumman Olson Industries, Inc., 445 B.R. 243 (Bankr. S.D.N.Y. 2011), affirmed

 467 B.R. 694 (S.D.N.Y. 2012). As the Bankruptcy Court explained in Grumman:

                  [The plaintiffs] could not have identified as potential creditors
                  prior to the sale or received adequate notice of the case, the sale,
                  the confirmation or the deadline for filing a proof of claim. Even if
                  the [plaintiffs] knew about the case, the knowledge would be
                  meaningless and it would be nothing for them to do. They could
                  not file a claim based on an accident that occurred years later.

 Id. at 254.

         66.      Consequently, the Sale Order does not bar the claims of any class member against

 Chrysler Group, based upon a successor liability theory or otherwise, where the fuel spit-back

 problem did not manifest itself until after the closing date or the class member did not receive

 adequate notice of the bankruptcy.

                                            CONCLUSION

         67.      For these reasons, Plaintiffs respectfully request that the Court enter an Order

 denying Chrysler Group’s Motion and for such other and further relief as the Court deems just

 and equitable.

 Dated: March 21, 2013                          SCHNADER HARRISON SEGAL & LEWIS LLP
        New York, New York
                                                By: /s/ Kenneth R. Puhala
                                                   Kenneth R. Puhala
                                                   Eric A. Boden
                                                   140 Broadway, Suite 3100
                                                   New York, NY 10005-1101
                                                   Phone: (212) 973-8000
                                                   Fax: (212) 972-8798
                                                   kpuhala@schnader.com

                                                    Barry E. Bressler (admitted pro hac vice)
                                                    Richard A. Barkasy (admitted pro hac vice)
                                                    1600 Market Street, Suite 3600
                                                    Philadelphia, PA 19103
                                                    Phone: (215) 751-2000
                                                    Fax: (215) 751-2205
                                                    Attorneys for the Plaintiffs


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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------------X
                                                               :
In re:                                                         :    Chapter 11
                                                               :
OLD CARCO LLC, et al.,                                         :    Case No. 09-50002 (SMB)
                                                               :
                                    Debtors.                   :    (Jointly Administered)
----------------------------------------------------------------X
                                                               :
AUTUMN BURTON, et al.                                          :
                                                               :
                                    Plaintiffs,                :    Adv. Proc. No. 13-01109 (SMB)
                                                               :
v.                                                             :
                                                               :
CHRYSLER GROUP, LLC                                            :
                                                               :
                                    Defendant.                 :
----------------------------------------------------------------X

          ORDER DENYING PLAINTIFFS’ OPPOSITION TO CHRYSLER
       GROUP, LLC’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

                 AND NOW, this _____ day of ______________________, 2013, upon

consideration of Chrysler Group, LLC’s Motion to Dismiss Second the Amended Complaint

[Docket No. 6] (the “Motion”) and Plaintiffs’ opposition to the Motion; and the Court finding

that: (a) it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and (b) this is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and after due deliberation thereon, it is

hereby:

                 ORDERED, that the Motion is DENIED.


New York, New York

Dated: _________________, 2013


                                                     Honorable Stuart M. Bernstein, U.S.B.J.


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Kenneth R. Puhala
Barry E. Bressler (pro hac vice)
Richard A. Barkasy (pro hac vice)
Eric A. Boden
SCHNADER HARRISON SEGAL & LEWIS LLP
140 Broadway, Suite 3100
New York, NY 10005-1101
Phone: (212) 973-8000
Fax: (212) 972-8798
Attorneys for Plaintiffs

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------------X
                                                               :
In re:                                                         :    Chapter 11
                                                               :
OLD CARCO LLC, et al.,                                         :    Case No. 09-50002 (SMB)
                                                               :
                                    Debtors.                   :    (Jointly Administered)
----------------------------------------------------------------X
                                                               :
AUTUMN BURTON, et al.                                          :
                                                               :
                                    Plaintiffs,                :    Adv. Proc. No. 13-01109 (SMB)
                                                               :
v.                                                             :
                                                               :
CHRYSLER GROUP, LLC                                            :
                                                               :
                                    Defendant.                 :
----------------------------------------------------------------X

     CERTIFICATE OF SERVICE OF PLAINTIFFS’ OPPOSITION TO CHRYSLER
      GROUP, LLC’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

                 I, Kenneth R. Puhala, hereby certify that on March 21, 2013, I caused the

foregoing Opposition of Plaintiffs to Chrysler Group, LLC’s Motion to Dismiss Second

Amended Complaint to be served via first-class mail, postage prepaid, upon the following:




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        Steven L. Holley                  Benjamin R. Walker
        Sullivan & Cromwell LLP           Sullivan & Cromwell LLP
        125 Broad Street                  125 Broad Street
        New York, New York 10004          New York, New York 10004


        Kathy A. Wisniewski               Richard K. Herrmann
        Thompson Coburn LLP               Morris James LLP
        One Us Bank Plaza                 500 Delaware Avenue, Suite 1500
        Saint Louis, MO 63101             P.O. Box 2306
                                          Wilmington, DE 19899-230



Dated: March 21, 2013               SCHNADER HARRISON SEGAL & LEWIS LLP
       New York, New York
                                    By: /s/ Eric A. Boden
                                       Kenneth R. Puhala
                                       Eric A. Boden
                                       140 Broadway, Suite 3100
                                       New York, NY 10005-1101
                                       Phone: (212) 973-8000
                                       Fax: (212) 972-8798
                                       kpuhala@schnader.com
                                       eboden@schnader.com

                                       and

                                       Barry E. Bressler (admitted pro hac vice)
                                       Richard A. Barkasy (admitted pro hac vice)
                                       1600 Market Street, Suite 3600
                                       Philadelphia, PA 19103
                                       Phone: (215) 751-2000
                                       Fax: (215) 751-2205
                                       bbressler@schnader.com
                                       rbarkasy@schnader.com

                                       Attorneys for the Plaintiffs




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